               Case 18-13669-JDW           Doc 6         Filed 09/26/18 Entered 09/26/18 14:42:25   Desc Main
                                                         Document      Page 1 of 4


         1813669- Court-A- US B
         KAREN B SCHNELLER
         ALLEN CHERN LAW LLC
         P O BOX 417
         HOLLY SPRINGS, MS 38635



         US Bankruptcy Courthouse
         703 Hwy 145 North
         Aberdeen, MS 39730




                                                           NOTICE




092618 . 0004 . 73 . 00420147   . 001   1813669 . Court . A .                                              387
                    Case 18-13669-JDW      UnitedDoc
                                                  States  Bankruptcy
                                                     6 Filed                Court
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                                                                                09/26/18 14:42:25                                                        Desc Main
                                                                        FOR THE
                                                          Northern Dist Of MS Aberdeen Division

   Debtor 1:    PEGGY MOORE                                                        Last 4 digits of Social Security number or ITIN:         XXX-XX-8733
                                                                                   EIN:

   Debtor 2:                                                                       Last 4 digits of Social Security number or ITIN:
                                                                                   EIN:

   Case Number: 18-13669-JDW                                                       Date Case Filed or Converted to Chapter 13:              September 24, 2018


Form 309I (12/15)

NOTICE OF CHAPTER 13 BANKRUPTCY CASE
For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code. An order for relief has been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about the meeting
of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect
debts from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert
a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or
otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay
may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 13 plan may result in a discharge. Creditors who assert that the debtors are not entitled to a discharge under
11 U.S.C. § 1328(f) must file a motion objecting to discharge in the bankruptcy clerk's office within the deadline specified in this notice. Creditors
who want to have their debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office by the same deadline. (See
line 13 below for more information.)
To protect your rights, consult an attorney. All documents filed in this case may be inspected at the bankruptcy clerk's office at the address listed below
or through PACER (Public Access to Court Electronic Records at www.pacer.gov).
The staff of the bankruptcy clerk's office cannot give legal advice.
To help creditors correctly indentify debtors, debtors submit full Social Security or Individual Taxpayer Identification Numbers, which
may appear on a version of this notice. However, the full numbers must not appear on any document filed with the court.
Do not file this notice with any proof of claim or other filing in this case. Do not include more that the last four digits of a Social
Security or Individual Taxpayer Identification Number in any document, including attachments, that you file with the court.

                                              About Debtor 1:                                                About Debtor 2:

1: Debtor's full name                         PEGGY MOORE

2: All other names used
   in the last 8 years


3: Address                                                                                                   If debtor 2 lives at a different address:
                                              365 CLARK ST

                                              CLARKSDALE, MS 38614
4: Debtor's attorney                          KAREN B SCHNELLER                                                                    (662) 252-3224
                                                                                                             Contact phone
   Name and Address                           ALLEN CHERN LAW LLC
                                              P O BOX 417
                                                                                                             Email
                                              HOLLY SPRINGS, MS 38635
5: Bankruptcy trustee                         Locke D. Barkley                                                                     (601) 355-6661
                                                                                                             Contact phone
   Name and Address                           6360 I-55 North
                                              Suite 140                                                      Email                 www.barkley13.com
                                              Jackson, MS 39211
6: Bankruptcy Clerk's office
   Documents in this case may be              US Bankruptcy Courthouse                                       Hours open
   filed at this address.                     703 Hwy 145 North
  You may inspect all records filed                                                                          Contact phone
  in this case at this office or              Aberdeen, MS 39730
  online a www.pacer.gov.
Form 309I Page 1                                                                                                                  For more information, see page 2


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Debtor:   PEGGY MOORE                                                                          18-13669-JDW
                                                                                                      Case Number:
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7: Meeting of creditors                                                                        Location:   Oxford Conference Center
   Debtors must attend the meeting    October 23, 2018               at    11:30 AM                        102 Ed Perry Blvd
   to be questioned under oath. In
                                      Date                                Time
   a joint case, both spouses must                                                                         Oxford, MS 38655
   attend.
    Creditors may attend, but are     The meeting may be continued or adjourned to a later
    not required to do so.            date. If so, the date will be on the court docket.

8: Deadlines                          Deadline to file a complaint to challenge
                                      dischargeability of certain debts:                                        Filing deadline:      December 24, 2018
   The bankruptcy clerk's office
   must receive these documents       You must file:
   and any required filing fee by        a motion if you assert that the debtors are not entitled
   the following deadlines.              to receive a discharge under U.S.C. § 1328(f), or
                                         a complaint if you want to have a paticular debt excepted
                                         from discharge under U.S.C. § 523(a)(2) or (4).
                                      Deadline for all creditors to file a proof of claim                       Filing deadline:      December 03, 2018
                                      (except governmental units):
                                      Deadline for governmental units to file a proof                           Filing deadline:      March 25, 2019
                                      of claim:

                                      Deadlines for filing proof of claim:
                                      A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained
                                      at www.uscourts.gov or any bankruptcy clerk's office. If you do not file a proof of claim by the deadline, you
                                      might not be paid for your claim. To be paid, you must file a proof of claim even if your claim is listed in the
                                      schedules that the debtor filed.
                                      Secured creditors retain rights in their collateral regardless of whether they file a proof of claim.
                                      Filing a proof of claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences
                                      a lawyer can explain. For example, a secured creditor who files a proof of claim may surrender important
                                      nonmonetary rights, including the right to a jury trial.
                                      Deadline to object to exemptions:                                         Filing deadline:      30 days after the
                                      The law permits debtors to keep certain property as exempt.                                     conclusion of the
                                      If you believe that the law does not authorize an exemption                                     meeting of creditors
                                      claimed, you may file an objection.

9: Filing of plan                     Miss. Bankr. L.R. 3015-1(d) requires the debtor to serve a copy of the plan and related notice on the Trustee, the US
                                      Trustee, and all creditors. The plan may contain a motion for valuation of security and/or a motion to avoid lien.
                                      Any objection to the plan or to any motion contained therein shall be in writing and filed with the Clerk of Court on
                                      or before November 07, 2018. Objections will be heard on November 14, 2018 at 01:30 PM, Oxford Federal Building,
                                      911 Jackson Avenue, Oxford, MS 38655 unless otherwise ordered by the court.
                                      If no objection is timely filed, the plan may be confirmed without a hearing.


10: Creditors with a foreign          If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
    address                           extend the deadline in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                      any questions about your rights in this case.

11: Filing a chapter 13               Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts
    bankruptcy case                   according to a plan. A plan is not effective unless the court confirms it. You may object to confirmation of the
                                      plan and appear at the confirmation hearing. A copy of the plan will be sent to you later and the court will
                                      send you a notice of the confirmation hearing. The debtor will remain in possession of the property and may
                                      continue to operate the business, if any, unless the court orders otherwise.

12: Exempt property                   The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and distributed
                                      to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed as exempt.
                                      You may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If you believe that the
                                      law does not authorize an exemption that debtors claimed, you may file an objection by the deadline.

13: Discharge of debts                Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of a debt.
                                      However, unless the court orders otherwise, the debts will not be discharged until all payments under the plan
                                      are made. A discharge means that creditors may never try to collect the debt from the debtors personally
                                      except as provided in the plan. If you want to have a particular debt excepted from discharge under 11 U.S.C. §
                                      523(a)(2) or (4), you must file a complaint and pay the filing fee in the bankruptcy clerk's office by the deadline.
                                      If you beleive that the debtors are not entitled to a discharge of any of their debts under 11 U.S.C. § 1328(f),
                                      you must file a motion. The bankruptcy clerk's office must receive the objection by the deadline to object to
                                      exenptions in line 8.



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                                                                                                                    0004
                   Case 18-13669-JDW
                                                   CERTIFICATE       OF MAILING
                                                     Doc 6 Filed 09/26/18 Entered 09/26/18 14:42:25       Desc Main
CASE: 1813669        TRUSTEE: 73
                                                             Document
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TASK: 09-25-2018 .00420147.N13NOP                          DATED: 09/26/2018
Court                         US Bankruptcy Courthouse                          703 Hwy 145 North
                                                                                Aberdeen, MS 39730
Trustee                       Locke D. Barkley                                  6360 I-55 North
                              Suite 140                                         Jackson, MS 39211
Debtor                        PEGGY MOORE                                       365 CLARK ST
                                                                                CLARKSDALE, MS 38614
799             000002        KAREN B SCHNELLER                                 ALLEN CHERN LAW LLC
                              P O BOX 417                                       HOLLY SPRINGS, MS 38635
                000012        INTERNAL REVENUE SERVICE                          PO BOX 7346
                                                                                PHILADELPHIA, PA 19114
                000016        WELLS FARGO BANK                                  ATTN: BANKRUPTCY DEPT
                              P O BOX 6429                                      GREENVILLE, SC 29606
                000015        SYNCHRONY BANK                                    PO BOX 965060
                                                                                ORLANDO, FL 32896
                000009        REGIONS BANK DBA REGIONS MTG                      ATTN: BANKRUPTCY DEPT
                              PO BOX 1860                                       MEMPHIS, TN 38101-1860
                000005        COAHOMA COUNTY CHANCERY CLERK                     PO BOX 98
                                                                                CLARKSDALE, MS 38614
                000006        COAHOMA COUNTY TAX COLLECTOR                      PO BOX 219
                                                                                CLARKSDALE, MS 38614
                000013        INTERNAL REVENUE SERVICE                          C/O U S ATTORNEY
                              900 JEFFERSON AVE                                 OXFORD, MS 38655-3626
                000017        MS DEPARTMENT OF REVENUE                          BANKRUPTCY SECTION
                              PO BOX 22808                                      JACKSON, MS 39225-2808
                000010        REGIONS BANK                                      PO BOX 18001
                                                                                HATTIESBURG, MS 39404
                000014        COMENITY BANK                                     ATTN BANKRUPTCY DEPT
                              PO BOX 182125                                     COLUMBUS, OH 43218-2125
                000007        ALLY FINANCIAL                                    PO BOX 130424
                                                                                ROSEVILLE, MN 55113
                000008        ALLY FINANCIAL                                    PO BOX 380901
                                                                                BLOOMINGTON, MN 55438-0901
                000011        WELLS FARGO                                       PO BOX 29704
                                                                                PHOENIX, AZ 85038
                                                                                                             17 NOTICES
         THE ABOVE REFERENCED NOTICE WAS MAILED TO EACH OF THE ABOVE ON 09/26/2018.
         I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND CORRECT.
         EXECUTED ON 09/26/2018 BY /S/EPIQ Systems, Inc.

*CM - Indicates notice served via Certified Mail
